        Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 1 of 11




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

 In re:                                           § Case No. 22-60043
 FREE SPEECH SYSTEMS, LLC                         § Chapter 11 (Subchapter V)
        Debtor.                                   §

 RESPONSE AND INITIAL OBJECTION OF ALEX E. JONES TO THE MOTION TO
 RECONSIDER THIS COURTS RULING DECLINING TO EMPLOY THE FIRM OF
SHANNON AND LEE, PLLC [DKT #206] AND MARC SCHWARTZ AND SCHWARTZ
 ASSOCIATES, LLC [DKT #207] AND ALTERNATIVELY, FOR CONTINUANCE OF
             THE HEARING NOW SET FOR OCTOBER 12, 2022

TO THE HON. CHRISTPHER LOPEZ, UNITED STATES BANKRUPTCY JUDGE:

        ALEX E. JONES files this Initial OBJECTION to the Motions to Reconsider filed by

Shannon & Lee, PLLC and Marc Schwartz and Marc Schwartz Associates, LLC (collectively

“Movants”) [Dkt #’s 206 and 207] (collectively the “Reconsideration Motions “or the “Motions”)

and would show as follows:

                                          I.
                                PRELIMINARY STATEMENT

        1.     Both Shannon & Lee, PLLC and Marc Schwartz and Schwartz Associates, LLC,

“Movants” initially sought to be retained by Motion of the Debtor Free Speech Systems, LLC

(“FSS”), with the consent and approval of Alex E. Jones (“Alex Jones”), the sole managing

member of FSS, by Application filed on August 20, 2022 [Dkt #’s 83 and 85]. The Motions sought

to retain Movants on behalf of the Debtor as its professionals, along with the existing professionals.

        2.     The Reconsideration Motions were subject to Objections by the United States

Trustee and after a properly noticed and full hearing on September 20, 2022, the Court entered its

Order denying such relief. [Dkt #’s 181 and 182]. The Court stated on the record the reasons for

its ruling.




                                               Page 1
        Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 2 of 11




         3.       On October 4, 2022, the day the courts Order would have been final, Movants filed

their Reconsideration Motion without any prior consultation with Alex Jones (then the sole

managing member of FSS). Most important:

                  a. The Debtor had not sought to retain either Movants subsequent to the denial of

                       the Motions for Reconsideration and have not filed nor joined in the Motion to

                       Reconsider filed by Movants.

                  b.   Instead, the Debtor with the approval of Alex Jones, has determined to retain a

                       new CRO and have spent hours in that effort unaided by Movants.

                  c. The Reconsiderations Motions do not allege that the Debtor is seeking the relief

                       of reconsideration, nor do the Motions allege that the Debtor is in support of

                       the Motions or even approves of the Motions.

                  d. The Motions filed by or on behalf of both Movants attach as Exhibits containing

                       significant    attorney     client    privileged     and     work     product     privileged

                       communications involving communications only among counsel with, and

                       subject to, common interests1 with the Debtor and its sole owner. This filing

                       was without seeking the consent of the sole owner or the Debtor prior to

                       disclosing the privileged and confidential attorney client communications and

                       wok product.

                  e. The motive in Movants’ publishing the privileged communications were to

                       further their self-serving suggestion at a narrative on behalf of Movants,


1
          The Debtor’s Co-counsel Ray Battaglia, prior to filing of the Chapter 11, and Alex Jones counsel, along with
litigation counsel Andino Reynal, executed a Common Interest Agreement designed to maintain counsels
communications of their confidential attorney opinions, analysis and work product as privileged. Although Movant
Shannon & Lee were requested to sign the agreement, it is unclear whether one was executed. In any event, all counsel
knew of the Joint Communications Agreement and the need to share communications among the common interest
counsel for Alex Jones and FSS and the need to protect that privileged communications and the work product reflected
therein from publication, at least without a Court’s order.


                                                      Page 2
        Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 3 of 11




                      contrary and not supported by the common interest parties or communication,

                      in an effort to apparently disclose the substantial debate among these common

                      interests. Even though such debate always takes place among common interest

                      counsel, such debate is not the basis authorizing unilateral disclosures of those

                      communications and work product (research, status of law, and prediction of

                      court treatment of those issues) and in fact, there would be no disclosure or

                      debate among common interest counsel if disagreeing with a counsel’s opinion

                      authorizes disclosures of such communications.

         4.       Importantly, previous to the September 20, 2022 hearing this Court announced its

concern about certain conduct of the Movants as initially serving before approval as prior Debtor’s

counsel and prior Debtor’s CRO, including:

                  a. concerns of the failure by Movants to disclose certain potential or actual

                      conflicts of the Movants involving prior affiliates’ Chapter 11 cases; and

                  b. (at a hearing on the Debtor’s operating budget) the expressed concerns by this

                      Court on the record regarding certain of the Debtor’s proposed budget payments

                      for Connecticut litigation expenses (travel and legal fees) that included amounts

                      to be incurred by Alex Jones yet budgeted to be paid for by only the Debtor;

                      and

                  c. (alleged by Movants as an issue) Alex Jones2 asserted indemnity by the Debtor

                      reflected in his employment agreement and proof of claim filed in this case.




2
  The Court did not mention indemnity of Alex Jones by the Debtor as suggested by Movants, but in fact both by
statute and by written agreement, Alex Jones has a right to be indemnified from all litigation costs, most recently of
which he has paid 100% of his and FSS’s professional fees. The Court did mention a possible indemnity by FSS of
PQPR but that is not relevant to Alex Jones’ requested costs and fees reimbursements.



                                                      Page 3
       Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 4 of 11




Remarkably nothing in the Movants’ Applications or any pleading addressed any of these prior

Court concerns, and in particular, the pleadings and the Affidavits/Declarations of the Movants

contained repeated and multiple errors and mistakes (making certain facts alleged untrue), and

statements of facts of experience and qualifications that were disclosed upon examination of the

Movants by the United States Trustee (“UST”) and the Court, to be of further concern.

       5.     Also remarkable was the Movants’ failure to acknowledge (or maybe realize) that

the written Objection of the UST was based almost exclusively on the concerns expressed on the

record by this Court and yet only one of the matters were partially addressed in any meaningful

degree in writing. Instead, Movants filed a Response to the Objection of the UST containing ad

hominem attacks both personal and professional on the contents of the UST’s objection and their

dishonest and unethical motives in filing same (filed without even showing, much less consulting,

Alex Jones or co-counsel to the Debtor about the inflammatory and incorrect nature of this

Response) [Dkt #176].

       6.     By denial of the Movants’ Applications to be employed, Alex Jones was returned

to the status as the only operating member with authority to retain professionals. The Debtor,

under the direction of its remaining counsel and with assistance and input of Alex Jones,

immediately began the process of a selection and replacement CRO. On October 5-7, 2022 the

current counsel for the Debtor, Alex Jones, along with key employees of the Debtor, met with and

extensively interviewed, and ultimately approved a new Chief Restructuring Officer. Application

to approve and appoint Patrick Magill as the new CRO has been filed [Dkt #205].

       7.     As with the prior CRO-Marc Schwartz, upon filing of the application (still subject

to approval) the authority and powers of the new CRO will be as Managing Member or President




                                             Page 4
       Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 5 of 11




of the Debtor, with its only obligation to Alex Jones as the owner being consulted on material

matters.

                                      II.
                                RELIEF SOUGHT
                     DENIAL OF THE MOTIONS TO RECONSIDER
                               AND AUTHORITIES

       8.      Professionals such as Movants seeking employment by and on behalf of a Chapter

11 Debtor have no standing to file an application on the proposed professional’s own behalf,

without the request of the Debtor. In fact, all “Applications to Employ” are made by the Debtor

usually with the agreement of the Professional(s). See, Rule 2014(a) [“Application for and Order

of Employment. An order approving the employment of attorneys, accountants, appraisers,

auctioneers, agents, or other professionals pursuant to §327, §1103, or §1114 of the Code shall be

made only on application of the trustee” (Emphasis added.)].

       9.      In this case, as to the Motion of Marc Schwartz, the Debtor has selected a new CRO

and does not intend to request that Marc Schwartz remain in that position, except for transitional

matters.

       10.     It is the exclusive right of the Debtor to seek employment of its professionals, not

that of a prospective professional seeking employment. Once an application is denied, or at any

time during that process or after, the Debtor may determine, in its discretion, not to retain the

professional. Neither of the Motions are filed by the Debtor and since this Court’s Order a new

CRO has been selected.

       11.     Accordingly, pursuant to Bankruptcy Rule 2014(a), these professionals have no

standing to seek employment of the Debtor without the Debtors’ express request and without the

Debtor making the application.




                                             Page 5
        Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 6 of 11




        12.      At the time these Motions to Reconsider were made by Movants, the Debtor was

not only not the party making the Motions, but also not asked to file, or even agree with the

Motions.

        13.      In particular, Alex Jones was shocked that prior counsel and the prior CRO sought

to publish and use confidential attorney client privileged joint communication documents to further

their own narrative that begins with their failure to have furnished this Court with the clear and

precise answers to the Court’s expressed concerns [See, e.g., Exhibits “G” and “J” attached to the

Motions]. This failure cannot now in some fashion be corrected by Movants’ unilateral decision

to disclose privileged communications of the Debtor and Alex Jones, the only parties that own

these privileges. Especially so when all parties were not even asked if they concurred, or would

consent, or if there were other non-offensive methods to accomplish the results Movants desired.

        14.      In fact, as to each question the Court sought specific and clear explanation of the

Movants’ conduct and decisions the Debtor and Alex Jones had relevant and reasonable answer –

yet to date no pleading filed by these Movants nor facts testified by these Movants has addressed

the Court’s questions other than to touch on the “failure to disclose” topic. Neither Movants made

any effort to discuss, much less to clearly set out, the explanation and reasoning for the decisions

regarding Alex Jones sharing of expenses. Alex Jones intends to file his pleading shortly to deal

with the Court’s concerns about expense and cost sharing so that at least these as-yet unanswered

questions regarding Alex Jones and expense sharing will be answered.3

                                             III.
                                  ALTERNATIVE RELIEF SOUGHT

3
         This Court denied without prejudice the travel budget proposed by the Debtor pending an explanation as to
why these and other litigation expenses were not being shared by Alex Jones. The Court made clear it was not denying
those budged reimbursements but also not allowing the budgeted expense until the Court received an explanation
upon application for those reimbursements. Up through the filing of these Reconsideration Motions, neither Movants
has made any effort to furnish this Court with that explanation. The Reconsideration Motion should be denied for that
reason alone.


                                                      Page 6
       Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 7 of 11




   ONLY IN THE EVENT MOVANTS MOTIONS ARE NOT DENIED, ALEX JONES
    SEEKS A CONTINUANCE ON THE HEARING SET FOR THESE MOTIONS
                         TO RECONSIDER

        15.     Movants’ Reconsideration Motions and the Exhibits published in support of the

Motion were a complete shock to Alex Jones and his counsel. Neither had been consulted about

the Motions, much less the disclosure of attorney client jointly privileged communications, even

though several of the attached privileged documents were sent and received by Alex Jones counsel

(and included no outside third-parties to such communications). In fact, it is in recognition of the

application of a joint privilege that as among parties with “common interests” there will be debate

over both facts, events, legal authority and legal strategies, as well as opinions expressed and

predictions made by those counsel of the expected outcome of presenting those facts, legal theories

and authorities to the courts. Were those communications not privileged, or if the mere

“disagreement” as to privileged communication topics waived the privilege, no “common interest”

counsel would ever risk participating, in particular, if a disagreement would allow one part to

disclose to opposing parties in the litigation those communications.

        16.     Here, after the Movants were no longer acting on behalf of the Debtor or the

common interest of the parties, the Debtor’s prior lawyer and prior CRO elected to disclose those

privileged communications in a public filing to further a narrative for their own self-serving

purpose of seeking to be re-employed by the Debtor.

        17.     The extraordinary manner in which Movants seek reconsideration of their failure

to have disclosed (i) potential or actual conflicts, and (ii) the actual reasons for the expense sharing

of these common interest parties, cannot be cured or reconsidered in the manner by which the

Movants unilaterally disclose privileged and confidential communications to which they were

participating parties. This attempt by Movants to be re-employed by furthering a narrative of the




                                                Page 7
       Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 8 of 11




“give and take” among all counsel faced with common issues of law and strategy, legal arguments

and predictions of likely or potential outcomes (communications evidenced by a written joint

communication privilege agreement), cannot be addressed by Alex Jones in the brief period of

time afforded from notice of the filing on October 4, 2022 to a hearing, if on the merits, on October

12, 2022.4 In fact, the difficulty of how to respond to these Motions in a manner that does not

further cause breach the Debtor’s and Alex Jones’ right to maintain the joint attorney client

common interest privileges, and to fully address these Motions, requires more time than eight (8)

days to accomplish.

        18.     Alex Jones requests in good faith that in the event this Court determines to consider

the Merits of the Reconsider Motions, that Alex Jones be given additional time to fully respond.

                                               IV.
                                           CONCLUSION

        19.     Alex Jones seeks the denial of the Motions to Reconsider on the grounds set out

above, including the lack of Movants’ standing to file or prosecute these Motions without joinder

or filing by the Debtor. The Debtor is moving forward with its new CRO and does not seek the

reconsideration of employment of the prior counsel.

        20.     In the event this Court desires a hearing on the merits of this motion, Alex Jones

requests a brief continuance of the October 12, 2022 scheduled hearing to allow a reasonable time

for a response, hearing preparation, and participation.

Dated: October 10, 2022




4
         However, Alex Jones does not believe a hearing is required under the law regarding employment of
professionals on behalf of a Debtor.


                                                Page 8
       Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 9 of 11




                                                      Respectfully submitted,

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                                                      COUNSEL FOR ALEX JONES



                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been served on counsel
for Debtor, Debtor, and all parties receiving or entitled to notice through CM/ECF as shown in the
attached service list on October 10, 2022.

                                             /s/ Shelby A. Jordan
                                                 Shelby A. Jordan




                                             Page 9
      Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 10 of 11




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                                           Page 10
      Case 22-60043 Document 217 Filed in TXSB on 10/10/22 Page 11 of 11




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                                           Page 11
